Case 4:19-cv-00531-SDJ-KPJ Document 25 Filed 07/29/20 Page 1 of 2 PageID #: 128




                            UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION


  ERIC A. TERRILL,

  Plaintiff,                                                  Case No. 4:19-cv-00531-SDJ

  v.
                                                             Honorable Judge Sean D. Jordan
  UNITED REVENUE CORPORATION,

  Defendant.


               AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

         IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff Eric A. Terrill and

 Defendant United Revenue Corporation through their respective counsel that the above-captioned

 action is dismissed, with prejudice, pursuant to Federal Rule of Civil Procedure 41. Each party shall

 bear its own costs and attorneys’ fees.


 Dated: July 29, 2020                                  Respectfully Submitted,

 ERIC A. TERRILL                                       UNITED REVENUE CORPORATION

 /s/ Marwan R. Daher                                   /s/ Zachary C. Farrar (with consent)
 Marwan R. Daher                                       Zachary C. Farrar
 Counsel for Plaintiff                                 Counsel for Defendant
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Case 4:19-cv-00531-SDJ-KPJ Document 25 Filed 07/29/20 Page 2 of 2 PageID #: 129




                                   CERTIFICATE OF SERVICE

           I hereby certify that I today caused a copy of the foregoing document to be electronically

 filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

 record.



                                                       /s/ Marwan R. Daher
                                                       Marwan R. Daher




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